Case 1:20-cv-03010-APM Document 719-3 Filed 09/27/23 Page 1of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

United States of America, ef al.,
Plaintiff,

- against - Case No. 1:20-cv-03010-APM
Google LLC,

Defendant.

[PROPOSED] ORDER FOR ADMISSION PRO HAC VICE OF
JULIA K. YORK

Upon consideration of the motion of Apple Inc., seeking the admission pro hac vice of
Julia K. York and the Declaration of Julia K. York submitted in support of the Motion, it is

HEREBY ORDERED that the Motion for Admission Pro Hac Vice of Julia K. York is
GRANTED.

Hon. Amit P. Mehta
United States District Judge
